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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

SECURITIES AND EXCHANGE COMMISSION,             §
                                                §
      Plaintiff,                                §
                                                §
v.                                              §            Case No.: 4:14-CV-02345
                                                §
ANDREW I. FARMER,                               §
CHARLES E. GROB, JR.,                           §
CAROLYN AUSTIN,                                 §
BALDEMAR P. RIOS, and                           §
CHIMERA ENERGY CORP.                            §
                                                §
      Defendants.                               §
_______________________________________________ §




STATEMENT OF UNDISPUTED FACTS IN SUPPORT OF PLAINTIFF SECURITIES
   AND EXCHANGE COMMISSION’S MOTION FOR SUMMARY JUDGMENT



     Dated: August 14, 2015        Respectfully submitted,

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I.     Farmer’s Control of Relevant Entities, Bank Accounts, and Brokerage Accounts

       1.      From at least August 1, 2011 through at least October 2012 (the “Relevant Time

Period”), Defendant Andrew I. Farmer owned, controlled, and conducted business through

Chartered Investments Inc. (“Chartered”), Infinite Funding, Inc. (“Infinite”), and Iridium Capital

Ltd. (“Iridium”). (APP 000008 Farmer Dep. Tr. 61:19 – 62:17.)

       2.      During the Relevant Time Period, Farmer controlled, and was the only person

authorized to conduct transactions, in the bank accounts of Chartered, Infinite, and Iridium.

(APP 000281-282 ¶ 5-7.)

       3.      During the Relevant Time Period, Farmer controlled Chartered’s brokerage

account at Scottsdale Capital Advisors (“Scottsdale”), and authorized all transactions in this

account. (APP 000283 ¶ 19)

       4.      During the Relevant Time Period, Farmer was authorized to conduct transactions

in the bank account of Oak Resources Inc. (“Oak Resources”). (APP 000282 ¶ 11) Lydia

Cotton purports to be the President of Oak Resources. (APP 000295; APP 000013 Farmer Dep.

Tr. 87:12.)

       5.      During the Relevant Time Period, Farmer was authorized to trade in the

brokerage accounts of Oak Resources held at Pennaluna & Co. (“Pennaluna”) and Merrimac

Corporate Securities Inc. (“Merrimac”). (APP 000282 ¶ 12; APP 000297.)

II.    Farmer’s Role in Setting up and Funding Chimera Energy Corp.

       6.      Chimera Energy Corp. (“Chimera”) was incorporated by Defendant Charles Grob,

who was Chimera’s first CEO, in August 2011. (APP 000299.) Grob had no energy company

experience when he founded Chimera. (APP 000321.) When asked during his deposition

whether Farmer directed him to form Chimera, Grob asserted the Fifth Amendment privilege

against self-incrimination. (APP 000039 Grob Dep. Tr. 9:25 – 10:2.)
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       7.      Farmer first met Grob in approximately June or July of 2011. (APP 00010

Farmer Dep. Tr. 70:22-25.)

       8.      Farmer allowed an associate of his, Tyson Rohde, to use Farmer’s credit card to

pay Chimera’s $950 incorporation service fee, and also to pay a $136.08 fee for setting up

Chimera’s website. (APP 000023-24 Farmer Dep. Tr. 184:22 – 185:1.) In the course of the

Commission’s investigation, Rohde submitted a sworn declaration in which he stated that if

required to appear to testify, he would assert the Fifth Amendment privilege against self-

incrimination in regard to all questions relating to, among other topics, “[a]ny and all conduct

related to Chimera Energy Corp.” and all “communications, understandings, or other dealings

relating to Chimera with Charles Grob [and] . . . Andrew Farmer.” (APP 000142-144.)

       9.      Farmer introduced Grob to Carlos Lopez of LBB & Associates Ltd., LLP

(“LBB”), which Chimera engaged as its auditor. (APP 00010 Farmer Dep. Tr. 72:8-10.) Farmer

also introduced Grob to David Loev, whose law firm Chimera engaged as counsel in connection

with its initial public offer filing, as well as for other matters. (APP 000010 Farmer Dep. Tr.

72:8-14.)

       10.     On or about August 22, 2011, Kylemore Corp. (“Kylemore”) extended to

Chimera a purported loan in the amount of $100,000. (APP 000301-304.) According to Farmer,

he helped Chimera obtain the loan. (APP 000011 Farmer Dep. Tr. 77:1-13.) As of August 31,

2011, Chimera’s only assets other than cash from the loan were accounts receivable valued at

$17,000 and inventory valued at $15,000. (APP 000357.)

       11.     Farmer said that during the Relevant Time Period, he was Kylemore’s “de facto

agent in the United States.” (APP 000012 Farmer Dep. Tr. 82:19-25.) On September 23, 2011

Farmer purchased a Kylemore domain name. (APP 000011-12 Farmer Dep. Tr. 80:4-6; 81:23 –



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82:1.) From October 2011 through October 2012, at least $4.36 million moved between

Chartered’s and Kylemore’s bank accounts. (APP 000188, 000193, 000198-199, 000204,

000207-209, 000215, 000240-241, 000250.) During the Relevant Time Period, Farmer’s wife,

Anna Tikhonova, used anna@kylemorecorp.com as an email account. (APP 000016, 000024

Farmer Dep. Tr. 105:6 – 106:13; 186:6-21.) In the course of the Commission’s investigation,

Tikhonova submitted a sworn declaration in which she stated that if required to appear to testify,

she would assert the Fifth Amendment privilege against self-incrimination in regard to all

questions relating to, among other topics, “[a]ny information concerning . . . Kylemore Corp.”

(APP 000146-149.)

        12.    Grob asserted the Fifth Amendment privilege against self-incrimination when

asked (i) if he had any contact with Kylemore regarding the loan; (ii) whether Farmer arranged

the loan; and (iii) whether he believed that Chimera would be obligated to repay the loan. (APP

000039 Grob Dep. Tr. 10:6-18.)

        13.    Between August 2011 and February 2012, Iridium paid Grob a monthly salary of

$2,500. (APP 000274-279.) Grob was not paid by Chimera during this time. (APP 000345.) In

March 2012, Chimera began paying Grob a salary. (APP 000378.)

III.    Farmer’s Role in Chimera’s Initial Public Offering

        A.     Farmer’s Participation in Drafting and Filing of the Registration Statement

        14.    As discussed above, Chimera retained Loev to prepare and file its Registration

Statement.

        15.    Farmer was Loev’s primary contact at Chimera, and Farmer was more active

when it came to matters relating to Chimera. (APP 000055 Loev Dep. Tr. 47:25 – 48:7.) When

issues arose relating to Loev’s work on behalf of Chimera, he first contacted Farmer, not Grob.



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(APP 000055 Loev Dep. Tr. 48:17-24.) Loev believed that Farmer’s and Rohde’s roles with

Chimera were more important than Grob’s, particularly in dealing with government agencies to

get approval for Chimera to become a public company. (APP 000063 Loev Dep. Tr. 100:15-21.)

       16.     On September 28, 2011, Farmer emailed Loev a draft of Chimera’s Registration

Statement on Form S-1, which was the first time a draft of Chimera’s Registration Statement was

transmitted to Loev. (APP 000383-385.) Grob was not included as a recipient of Farmer’s

email. (Id.) Loev found it strange and unusual that Grob was not copied on the email. (APP

000054 Loev Dep. Tr. 38:7-22.)

       17.     Metadata of the file containing the draft Registration Statement that Farmer

emailed on September 28, 2011 reflects that the document was authored by Rohde and last

modified by Farmer. (Id.) Farmer stated that Rohde created the first draft of the Registration

Statement. (APP 000016 Farmer Dep. Tr. 107:19-23.)

       18.     On October 18, 2011, Farmer emailed Loev and Loev’s associate, John Gilles, a

“[f]inal clean version” of Chimera’s Registration Statement, stating that “we’re ready to

edgarize.” (APP 000387-388.) To EDGARize a document means to have the document

converted into a format that is compatible for filing with the Commission using its EDGAR

filing system. (APP 000056 Loev Dep. Tr. at 55:1-14.) Once a document is EDGARized, it is

ready to be filed with the Commission. (Id.) Grob was not copied on the October 18 email,

which Loev found unusual. (APP 000056 Loev Dep. Tr. 56:7-17.)

       19.     Chimera filed the Registration Statement on October 19, 2011. (APP 000306-

370.). The Registration Statement sought the registration of an initial public offering (“IPO”) of

5 million shares of Chimera stock. (Id.)




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       20.     Other than the Registration Statement purporting to register an initial public

offering of 5 million shares of Chimera stock, neither Chimera nor any other person or entity

filed any registration statements attempting to register any other transactions in Chimera

securities. (APP 000002 Vydashenko Decl. ¶ 3.)

       21.     On November 16, 2011, a member of the staff of the Commission’s Division of

Corporation Finance provided comments on Chimera’s Registration Statement to Loev and

Grob. (APP 000390-392.) The same day, Loev forwarded the comment letter to Farmer,

copying Grob, and indicated that Loev would “coordinate with Charles [Grob] regarding who

will be responding to which comments.” (Id.) Loev explained that he intended to coordinate the

division of labor between Chimera, his law firm, and LBB in preparing a response. (APP

000057 Loev Dep. Tr. 62:1-20.)

       22.     On November 17, 2011, Farmer responded to Loev, copying Gilles, stating that

[w]e’ve gone ahead and drafted the response letter,” and that Farmer is “working on making sure

all the changes are made in the s-1.” (APP 000390-392.) Grob was not copied on this email.

(Id.) Loev admitted that he never coordinated the response with Grob as he first intended (and as

was typical practice), and when asked to comment on Grob’s absence from Farmer’s email, Loev

stated that “[i]t looks like Andrew was kind of authorized to kind of orchestrate this process.”

(APP 000057 Loev Dep. Tr. 64:3-12.)

       23.     On December 5, 2011, Loev emailed Grob and Farmer to inform them that he had

filed with the Commission a response to comments from the staff of the Division of Corporation

Finance. (APP 000394.) The same day, Farmer responded to Loev, instructing him to request

that the Commission declare Chimera’s Registration Statement effective on a particular date.

(Id.) Once the Commission declares a Registration Statement effective, the stock sale



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transactions subject to the registration may then take place. (APP 0000 Loev Dep. Tr. 73:6-10.)

Loev followed Farmer’s instruction. (APP 000058 Loev Dep. Tr. 72:3-17.)

       24.     On December 12, 2011, Farmer emailed Loev, without copying Grob, and

directed Loev to follow up on Chimera’s request for effectiveness. (APP 000396.) Farmer

stated that he “[w]ould like to get the capital raise completed before everyone disappears for the

holidays.” (Id.)

       25.     On December 22, 2011, the day Chimera’s Registration Statement was declared

effective, Rohde emailed Farmer, Loev, and Grob with comments to the form of a subscription

agreement that was to be used by Chimera’s IPO investors. (APP 000398.) Rohde suggested

removing the reference in the subscription agreement to the year 2011, “so that we can sell into

2012 without further revision.” (Id.)

       26.     The identity of the person actually raising capital for Chimera through its IPO was

important to Loev, because the Registration Statement disclosed and registered the sale of shares

specifically by Grob (and no other person). (APP 000060 Loev Dep. Tr. 78:17 – 79:17.) This

limitation was significant because it placed Grob’s selling activity within a safe harbor that

exempted officers of companies participating in their companies’ offerings from registration as

broker-dealers, despite engaging in activity that ordinarily would require such registration. (Id.)

       B.      Farmer’s Participation in the IPO Transactions

               1.      Transfers of Money

       27.     Between approximately December 22, 2011 and January 12, 2012, Chimera

completed its IPO. (APP 000400-498.) The IPO resulted in the transfer of five million shares of

its stock to 29 persons at the price of $0.015 per share, raising a total of $75,000. (Id.)




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       28.       Immediately prior to the acquisition of Chimera stock in the IPO by certain

investors, Farmer transferred to these investors money in amounts that closely matched the

purchase price that the investors then paid for Chimera shares, as follows:

             •   On December 23, 2011, Iridium transferred $6,000 to Linwood Farmer, who is
                 Farmer’s father. (APP 000272.) On December 22, 2011, Linwood Farmer and
                 Patricia Farmer, who is Farmer’s mother, each signed a subscription agreement
                 subscribing to the purchase of 200,000 Chimera shares for $3,000, for a total
                 purchase price of $6,000 for the two of them. (APP 000432-437.) On December
                 25, 2011, Linwood Farmer and Patricia Farmer each wrote checks for $3,000 to
                 Chimera for the ostensible purchase of shares in the IPO. (Id.)

             •   Also on December 23, 2011, Iridium transferred $6,300 to Jana Robinson
                 Demandante. (Iridium bank account statement (APP 000272.) Jana Robinson
                 Demandante is the wife of Archie Demandante. (APP 000025 Farmer Dep. Tr.
                 189:20-25.) On December 23, 2011, Jana and Archie each signed a subscription
                 agreement subscribing to the purchase of 200,000 shares for $3,000, for a total
                 purchase price of $6,000 for the two of them. (APP 000476-478, 000426-428)
                 On December 28, 2011, Jana and Archie each made out cashier’s checks to
                 Chimera in the amounts of $3,000 to Chimera for the ostensible purchase of
                 shares in the IPO. (Id.)

             •   Also on December 23, 2011, Iridium transferred $6,300 to Brittany Garcia. (APP
                 000272.) Brittany Garcia is the wife of Alejandro Garcia Herrera. (APP 000027
                 Farmer Dep. Tr. 199:5-17.) On December 27, 2011, Brittany and Alejandro each
                 signed a subscription agreement subscribing to the purchase of 200,000 shares for
                 $3,000, for a total purchase price of $6,000 for the two of them. (APP 000445-
                 450.) On December 28, 2011, Brittany and Alejandro each made out certified
                 checks issued by People’s Trust Bank to Chimera in the amounts of $3,000 to
                 Chimera for the ostensible purchase of shares in the IPO. (Id.)

             •   On January 6, 2012, Iridium transferred $3,050 to Brandi Leal. (APP 000267.)
                 On January 9, 2012, Leal signed a subscription agreement subscribing to the

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                 purchase of 200,000 shares for $3,000. (APP 000455-457.) On the same day,
                 Leal made out a cashier’s check to Chimera in the amount of $3,000 to Chimera
                 for the ostensible purchase of shares in the IPO. (Id.)

             •   Also on January 6, 2012, Farmer transferred from his personal bank account
                 $3,000 to the bank account of Oak Resources. (APP 000175, 000255, 000169.)
                 On the same day, Cotton signed a subscription agreement subscribing to the
                 purchase of 200,000 shares for $3,000. (APP 000417-419.) And, on that same
                 day, Cotton made out a cashier’s check from the same bank account of Oak
                 Resources to Chimera in the amount of $3,000 to Chimera for the ostensible
                 purchase of shares in the IPO. (Id.)

             •   On January 12, 2012, Iridium transferred $10,000 to Kellie Moss. (APP 000267.)
                 Kellie Moss is Eddie Austin’s daughter and Carolyn Austin’s step-daughter
                 (Eddie and Carolyn are married); Kellie is married to James Moss. (APP 000029
                 Farmer Dep. Tr. 207:6-14.) On January 11, 2012, Kellie and James each signed a
                 subscription agreement subscribing to the purchase of 200,000 shares for $3,000,
                 for a total purchase price of $6,000 for the two of them. (APP 000467-472.) On
                 the same day, Kellie and James each made out checks from their joint account to
                 Chimera in the amounts of $3,000 to Chimera for the ostensible purchase of
                 shares in the IPO.

       29.       Farmer now asserts that each of the payments described in paragraph 28 above,

with the exception of the payments to Oak Resources and to Kellie Moss, constituted loans that

were repaid. (APP 000017, 000018, 000025-29 Farmer Dep. Tr. 112:20-22; 115:9-12; 190:10-

191:9; 196:7-13; 198:12-20; 200:2-8; 204:23-205:6.) According to Farmer, no documentation

exists for the purported loans. (APP 000018 Farmer Dep. Tr. 115:5-8; 198:17-20.) Farmer does

not recall the reason for his $10,000 transfer to Kellie Moss. (APP 000029-30 Farmer Dep. Tr.

208:16 – 209:1.) Farmer did not disclose these transactions to anyone. (APP 000017-18 Farmer.

Dep. Tr. 112:23 – 114:22.)



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               2.     Farmer’s Solicitations of Investors

       30.     Farmer contacted Jana Robinson Demandante and Archie Demandante to solicit

them to invest in Chimera’s IPO. (APP 000025 Farmer Dep. Tr.190:10 – 191:9.) Farmer also

solicited his parents’ investment in the IPO. (APP 000026, 000030 Farmer Dep. Tr. 196:7-13;

210:12-25.) Charles Grob never spoke to Farmer’s parents about their Chimera investment.

(APP 000027 Farmer Dep. Tr. 198:21 – 199:4.) Farmer solicited Brandi Leal’s investment in the

IPO. (APP 000029 Farmer Dep. Tr. 206:2-9.)

       31.     When Farmer contacted persons to solicit their investment in Chimera, he handed

them a copy of Chimera’s prospectus. (APP 000028 Farmer Dep. Tr. 201:21-24.)

       32.     David Parisi, one of Chimera’s IPO investors, provided accounting services to

Farmer during the Relevant Time Period. (APP 000031 Farmer Dep. Tr. 222:13-15.)

       33.     Farmer’s wife, Anna Tikhonova, invested in Chimera’s IPO. (APP 000488-491.)

       34.     On December 25, 2011, in an email discussing Chimera’s IPO, Farmer authorized

Eddie Austin to revise Chimera’s subscription agreement in connection with potential IPO

investments in Chimera by Eddie Austin’s children and children-in-law. (APP 000500, APP

000020 Farmer Dep. Tr. 121:23 – 122:9.) When Austin’s children and children-in-law

subscribed to purchase shares in the IPO, Farmer took delivery of their signed subscription

agreements. (APP 000502-504, 000506-507, 000509.)

       35.     At the time of Farmer’s discussions with Eddie Austin regarding the IPO, Farmer

told Austin that Farmer was “keep[ing] my options open” as to whether he would obtain for

himself most of Chimera’s shares, or if he would sell Chimera as a shell to a potential buyer.

(APP 000020 Farmer Dep. Tr. 123:4 – 124:14; APP 000511.)




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        36.    In the course of the Commission’s investigation, Eddie Austin and Carolyn Austin

submitted sworn declarations in which they stated that if required to appear to testify, they would

assert the Fifth Amendment privilege against self-incrimination in regard to all questions relating

to, among other topics, “[a]ny and all conduct related to Chimera Energy Corp.” and all

“communications, understandings, or other dealings relating to Chimera with . . . Andrew

Farmer.” (APP 000150-153 ¶ 2; APP 000154-156 ¶ 2.)

               3.     Other IPO Transactions

        37.    Grob induced his long-time friend, Daniel SoRelle, to invest in the IPO. (APP

000157-158) Grob approached SoRelle in December 2011, telling him that he needed people to

sign off on certain paperwork to help take Chimera public. (Id. at ¶ 4.) Grob further explained

to SoRelle that to take Chimera public, he needed to find about ten investors who could pay

about $1,500 to buy shares in the company, as this would demonstrate interest in Chimera’s

stock. (Id.)

        38.    SoRelle, who was in college at the time and had no money to invest and no

investment experience, initially refused to invest in Chimera’s IPO. (Id. at ¶ 6.) Grob responded

that he would give SoRelle cash for the investment, and all SoRelle needed only to make out a

personal check to Chimera in the same amount. (Id.) In this way, according to Grob, SoRelle

could “invest” without any risk or expense to him, and then later transfer the stock to another

buyer that Grob would find. (Id.) As a favor to Grob, SoRelle agreed to invest, took $1,500 in

cash from Grob, and then wrote a $1,500 check to Chimera on January 5, 2012. (Id. at ¶ 7.)

When asked if Farmer was the source of cash that Grob provided to SoRelle, Grob asserted the

Fifth Amendment privilege. (APP 000049 Grob Dep. Tr. 49:15-19.)

IV.     Farmer’s Role in the Form 211 Application Process



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       A.      The Market in Microcap Stocks and its Regulation

       39.     Microcap securities (like those of Chimera) generally are characterized by low

share prices and no analyst coverage. (APP 000516.) The issuers of such securities typically are

thinly capitalized, and the securities trade “over the counter,” with price quotations posted on

various quotation mediums, rather than on a national exchange such as the NYSE or the

NASDAQ. (Id.) The Commission has described fraud and manipulation involving microcap

securities as “a serious concern.” (Id.) Because of the relative lack of information about

microcap issuers, when a broker-dealer, acting as a market maker, publishes quotations for

microcap securities traded over the counter, the market maker “raises the profile of the security”

(Id.), which can give the market for such security “an aura of credibility” and increase its volume

of trading. (APP 000571.) This enables those who orchestrate microcap fraud both to point to

the quotation to “validate” the worth of a security, and to sell their shares to unsuspecting

investors. (Id.)

       40.     Rule 15c2-11, promulgated under the Securities Exchange Act of 1934 (the

“Exchange Act”), together with the Financial Industry Regulatory Authority (“FINRA”)’s Form

211 application process, comprise an important part of the regulatory regime that governs the

quotation by broker-dealers of prices of microcap securities that are traded over the counter. The

requirements of Rule 15c2-11 are “intended to deter broker-dealers” from initiating quotations

for securities “that may facilitate a fraudulent or manipulative scheme.” (APP 000516.) This

rule deters broker-dealers by prohibiting them from initiating the publication of a quotation in a

quotation medium (such as the OTC Bulletin Board, where Chimera’s stock price was quoted)

unless a broker-dealer has reviewed current information about the company whose stock it




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proposes to quote, and has a reasonable basis for believing that such information is accurate and

is from a reliable sources. (Rule 15c2-11; APP 000516-517.)

       41.      To quote a security traded over the counter, a broker-dealer is required to obtain

FINRA’s clearance (in addition to complying with Rule 15c2-11). (APP 000605-606.) To

obtain clearance, a broker-dealer must submit to FINRA’s OTC Compliance Unit an application

on FINRA’s Form 211. (Id.; APP 000621-627.) The intent of the application process is to

require a broker-dealer to demonstrate compliance with Rule 15c2-11 before such broker-dealer

is cleared to quote prices and make a market in a security. (APP 000605-606.)

       42.     FINRA’s predecessor, the NASD, has issued several notices to its member

broker-dealer firms that articulate the procedures and inquiries to be undertaken by broker-

dealers to ensure that they are in compliance with Rule 15c2-11. (See APP 000608-611; APP

000613-619.) The Commission also has published a list of “red flags” that, if detected, a broker-

dealer should “reasonably address” before it can publish quotations. (APP 000552-557.) One

such red flag is the concentration of ownership of freely tradable stock (such as the stock

Chimera issued in its IPO) in the hands of one person or a group of people, which the

Commission identified as a “prominent feature of microcap fraud cases.” (Id. at p. 40.)

       B.      Farmer’s Involvement in the Form 211 Process on Chimera’s Behalf

       43.     On December 22, 2011, the day Chimera’s Registration Statement was declared

effective, Farmer emailed Mark Dillon, a registered representative at broker-dealer Pennaluna &

Co. (“Pennaluna”), to solicit Dillon to sponsor a Form 211 application on Chimera’s behalf.

(APP 000629.) In introducing Chimera and Grob, Farmer represented to Dillon that “neither

Carolyn [Austin] or (sic) myself are involved in the deal in any way.” (Id.)




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          44.   Dillon agreed to submit the application. (APP 000159-161 ¶ 4.) Pennaluna then

commenced a diligence process to comply with Rule 15c2-11, and to ensure that Chimera would

not be used as part of market manipulation or “pump-and-dump” scheme. (Id. ¶¶ 5-6.) Dillon

understood the risk presented by a scenario where one person or a group of people owns nearly

all of the freely tradable shares of a company like Chimera. (Id. ¶ 6.) Therefore, it was

important to Pennaluna to determine the nature of the relationships between and among

Chimera’s shareholders and other persons associated with Chimera. (Id.)

          45.   Farmer did not tell Dillon that he transferred money to certain persons to enable

them to purchase shares in Chimera’s IPO, and that Farmer characterized these transfers as loans.

(Id. ¶ 7.) Farmer also did not tell Dillon that Farmer’s wife and parents were Chimera

shareholders. (Id.) Had Dillon known these facts, he would have investigated further, because

the relationships and transactions, even if characterized by Farmer as loans, were seen by Dillon

as potentially indicative of an attempt to concentrate ownership of shares in the hands of one

person or a group of people. (Id. ¶ 8.)

          46.   Having been provided this information, Dillon now believes that Farmer’s

statement that he was not “involved in the deal in any way” was false when Farmer made it. (Id.

¶ 9.)

          47.   Farmer’s involvement in the Form 211 application process was so pervasive that

Loev perceived him to be the person who, on Chimera’s behalf, took the lead on the Form 211

application process. (APP 000058, 000061 Loev Dep. Tr. 69:14-17; 85:1-8.)

          48.   As part of its diligence and compliance process, Pennaluna required Chimera to

provide certain information, including, as relevant here, a letter describing “who made

introductions” to shareholders, “who solicited them,” and how the shareholders were known to



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the person introducing or soliciting them. (APP 000631-633.) Pennaluna’s request for this

information was directed by email to Farmer, copying Grob. (Id.)

       49.     In response to this inquiry, on January 13, 2012, Farmer emailed Pennaluna

(without copying Grob) two documents: a letter on Chimera letterhead that contains Grob’s

signature block, but is unsigned, and a chart titled “Relationships Between Shareholders.” (APP

000631-637.) Metadata for each of the files containing these documents, which were emailed in

PDF format, reflects that they were created by Farmer on the evening of January 13 using the

Microsoft Word application, and then converted by him into PDF format. (Id.)

       50.     The letter, which is dated January 13, 2012, states that each IPO subscriber “was

either personally known to our CEO, Charles Grob, or introduced to our CEO by another

shareholder. Mr. Grob was the sole individual authorized by the company to solicit investments

from individuals who indicated interest in the offering.” (APP 000634.) The letter characterizes

the chart as describing “inter-relationships between the investors as well as the individual who

introduced them to our CEO.” (Id.)

       51.     Farmer’s name is not contained anywhere on the chart. (APP 000636.) The chart

describes Anna Tikhonova, Farmer’s wife, as a “longtime friend” of Grob. The first time Grob

met Anna Tikhonova was in July 2011; Farmer was present during this meeting. (APP 000031

Farmer Dep. Tr. 223:12-20.) The chart describes Linwood and Patricia Farmer as “father-in-

law” and “mother-in-law” of Anna Tikhonova. (APP 000636.)

       52.     The chart describes Jana Robinson Demandante, who was a former co-worker of

Farmer’s (APP 000025 Farmer Dep. Tr. 189:24 – 190:3), as a “close friend of Anna Tikhonova.”

(APP 000636.)




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        53.        The chart describes Lydia Cotton as a “longtime friend” of Grob. (Id.) Cotton is

Farmer’s former receptionist; Farmer has helped her financially over the years by offering her

employment opportunities and providing loans; in addition, Farmer helped Cotton pay her bills

on time. (APP 000013, 000034 Farmer Dep. Tr. 87:16 – 88:17; 245:16-20.)

        54.        The chart describes Brittany Garcia as a “close friend” of Jana Robinson

Demandante. (APP 000636.) Garcia is Farmer’s and Rohde’s former assistant. (APP 000027

Farmer Dep. Tr. 199:5-8.)

        55.        The chart describes Andrew Austin, Robbie Austin, Kellie Moss, and James Moss

as “close friend[s]” of Brian Barrileaux, another IPO investor. (APP 000636.) Andrew and

Robbie Austin are Carolyn and Eddie Austin’s sons (APP 000636, 000638), and, as discussed

above, Kellie Moss and James Moss are Carolyn Austin’s husband’s daughter and son-in-law.

        56.        The chart describes David Parisi as a “business acquaintance” of Grob. (APP

000636.) Parisi has worked as Farmer’s CPA, and during the Relevant Time Period, he worked

on tax issues for Eddie Austin out of Farmer’s office. (APP 000031 Farmer Dep. Tr. 222:13-18.)

        57.        On our about January 24, 2012, Pennaluna submitted the Form 211 application to

FINRA’s OTC Compliance Unit. (APP 000639-646.) On February 1, 2012, a FINRA

compliance examiner sent Pennaluna a letter in which he explained that the application has been

found “deficient,” and requested additional information to cure the deficiencies. (APP 000648-

49.) As relevant here, FINRA requested (i) a “detailed explanation of the relationship between

Andrew Farmer and the Issuer,” (ii) details “surrounding the Issuer’s offering,” including “who

solicited investors” and “how the solicitor knew them,” and (iii) a description of “all

relationships and affiliations among and between the shareholders and the Issuer.” (Emphasis in

original.) (Id.)



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       58.     In response to the deficiency letter, Chimera provided to Pennaluna certain

information for purposes of transmitting it to FINRA, including the same letter and chart that

Farmer had provided to Pennaluna on January 13, 2012. (APP 000651-658.) In addition,

Chimera provided a letter, dated February 3, 2012 and signed by Grob, that responded to

FINRA’s inquiries, including those identified in paragraph 57 above. (APP 000653-654.)

       59.     Chimera’s February 3 letter stated, in response to the inquiry about the

relationship between Farmer and Chimera, that “Mr. Farmer is a long-term friend of the Issuer’s

CEO, Charles Grob. Mr. Grob sought advice from Mr. Farmer on firms with which to discuss a

Form 211 Application. Among others, Mr. Farmer recommended Pennaluna & Company to the

Issuer and made the initial introduction. Mr. Farmer is not an officer, director, consultant,

affiliate, or shareholder of the Issuer.” (APP 000653.)

       60.     On February 6, 2012, Pennaluna submitted to FINRA the January 13 letter and

chart, as well as the February 3 letter. (APP 000660-666.)

       61.     On March 12, 2012, a FINRA compliance examiner sent Pennaluna a letter in

which he explained that the Form 211 application remains deficient because, among other

reasons, it was the opinion of FINRA staff that Chimera was a “shell company” as defined by

Rule 12b-2 of the Exchange Act. (APP 000668-669.) Pennaluna was given an opportunity to

provide “documentation detailing why [Chimera] is not a shell.” (Id.)

       62.     On March 13, 2012 at 11:45 p.m., Farmer emailed Loev a draft of an amendment

to Chimera’s Form 10-Q, directed Loev to review the language of an explanatory note contained

in the draft Form 10-Q, and directed him to prepare the document for filing with the

Commission. (APP 000671-674.) The explanatory note stated that Chimera was amending its

prior Form 10-Q for the sole purpose of indicating that it was a “shell company.” (APP 000673.)



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The metadata of the file containing the draft Form 10-Q indicated that the document was last

modified by Farmer on March 13 at 11:10 p.m. (Id.)

        63.      On March 14, 2012, Chimera provided to Pennaluna a letter response to FINRA’s

March 12, 2012 letter. (APP 000676-677.) In its response, which Pennaluna then transmitted to

FINRA, Chimera stated that it had amended its Form 10-Q to update its status as a shell

company. (Id.)

        64.      On April 10, 2012, FINRA cleared Pennaluna’s Form 211application to initiate

quotations of Chimera securities. (APP 000679.)

V.      Consolidation of Chimera’s Shares in the Hands of Farmer and his Associates

        65.      In May and June 2012, seven entities acquired 4.6 million shares (out of the total

5 million shares sold in the offering) of Chimera stock from all IPO investors except Anna

Tikhonova. 1 (APP 000681-684, 000686, 000688, 000690.) The acquiring entities were

Chartered, Oak Resources, TransAmerica Trading Inc. (“TransAmerica”), and the Marshall

Islands Entities (defined infra). (Id.) These entities all paid the IPO investors the same price for

their stock – $0.0225 per share. (Id.)

        66.      On April 6, 2012, four entities incorporated in the Republic of Marshall Islands –

Hillsmere SA, Kylemore, Clarent Services Corp., and Levantera SA (collectively, the “Marshall

Islands Entities”) – each acquired 700,000 shares of Chimera stock from a total of 16 IPO

investors. (APP 000681-684.) Farmer arranged these transactions for each of the Marshall

Islands Entities, representing to Chimera’s transfer agent that the Marshall Island entities were

clients of Iridium. (Id.) Chartered funded each of the transactions between the Marshall Islands

Entities and the IPO investors by writing checks from Chartered’s bank account to each IPO

1
 Prior to these consolidating transactions, on March 21, 2012, Oak Resources purchased from Lydia Cotton the
200,000 shares of Chimera stock that Cotton acquired in the IPO, at the price of $0.0225 per share. (APP 000705-
706.)

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investor from whom the Marshall Island Entities acquired the stock. (APP 000220-221, 000223,

000225-237) In total, Chartered paid IPO investors $63,000 to acquire their shares on behalf of

the Marshall Islands Entities. (Id.)

       67.     Also on April 6, 2012, Chartered acquired 600,000 shares of Chimera stock from

four IPO investors. (APP 000686, APP 000692-703.)

       68.     SoRelle was one of the IPO investors from whom Chartered acquired Chimera

stock. (APP 000701-703.) SoRelle disposed of his Chimera shares after Grob contacted him in

the spring of 2012 and instructed him to transfer the stock in the manner dictated by Grob. (APP

000157-158 ¶ 8.) To effectuate the transaction between SoRelle and Chartered, Grob drove

SoRelle to a bank branch in Houston, where a bank employee stamped documents required for

the transaction. (Id. ¶ 9.) In connection with this transaction, Grob gave SoRelle a check for

$2,250 – the ostensible purchase price for the 100,000 shares then held by SoRelle – and

instructed SoRelle to cash the check and return the cash to Grob, which SoRelle did. (Id. ¶ 10.)

As a result, SoRelle did not make or lose any money in connection with his transactions in

Chimera stock. (Id.)

       69.     On May 1, 2012, Oak Resources acquired 500,000 shares of Chimera stock from

three IPO investors. (APP 000707-714.) Including the 200,000 shares Oak Resources

previously had acquired from Cotton in March 2012, Oak Resources held 700,000 Chimera

shares as of May 1, 2012. (Id.) On May 5, 2012, Farmer wrote a check to Oak Resources from

his Chartered account for $15,750 – which was Oak Resources’ cost of acquiring all 700,000

shares of Chimera stock from IPO investors. (APP 000222.) On May 8, 2012, Oak Resources

issued checks to the three IPO investors for the acquisition of their shares. (APP 000179-181.)

In testimony given during the Commission’s investigation, Cotton asserted the Fifth Amendment



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privilege against self-incrimination as to all questions relating to Oak Resources, and as to

questions relating to Oak Resources’ acquisition of shares from IPO investors. (APP 000717-

718 Cotton Testimony Tr. 14:11-14; 17:11-20.)

        70.    Also on May 1, 2012, TransAmerica acquired 700,000 shares of Chimera stock

from four IPO investors. (APP 000721-732.) On May 5, 2012, Farmer wrote a check to

TransAmerica from his Chartered account for $15,750 – which was TransAmerica’s cost of

acquiring 700,000 shares of Chimera stock from IPO investors. (APP 000224.) That same day,

TransAmerica issued checks to the four IPO investors for the acquisition of their shares. (APP

000723, 000726, 000729, 000732.) In her declaration submitted in the course of the

Commission’s investigation, Austin stated that she would assert the Fifth Amendment privilege

against self-incrimination if compelled to testify about TransAmerica’s transactions in Chimera

securities and any dealings with Farmer and Chartered. (APP 000154-156 ¶ 2.)

        71.     At the time of these consolidating transactions, there was no public liquid market

for Chimera stock. (See paragraph 65 supra and APP 000374-378.)

        72.    On or about July 6, 2012, Chimera effected a 4:1 forward split of its stock, thus

quadrupling the number of shares in possession of each of the entities discussed above at no cost

to them. (APP 000740-742.) After the stock split, Oak Resources, TransAmerica, and the

Marshall Islands Entities each held 2.8 million shares of Chimera stock, while Chartered held 2.4

million shares. (See paragraphs 65-72 supra.)

VI.     Farmer’s Funding of a False Promotional Campaign

        73.    In its Prospectus and each of its quarterly financial statements filed thereafter,

Chimera described its business as supplying equipment and components that are used in the

exploration and production of oil and gas. (APP 000770, 001090, 001110, 000809.) This



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description appeared in the last financial statement that Chimera ever filed, dated as of July 16,

2012. (APP 000807, 000809.) Grob asserted the Fifth Amendment privilege against self-

incrimination in response to all questions relating to the accuracy of statements made in

Chimera’s Prospectus and Forms 10-Q. (APP 000039; APP 000048 Grob Dep. Tr. 10:22 – 11:6;

12:5-8; 42:16 – 43:1; 43:22 – 44:18.)

       74.     On July 27, 2012, Chimera filed with the Commission a Form 8-K in which it

disclosed that it has purportedly entered into a “License Agreement” with China Inland Oil

Exploration Company of Chencunzhen, China (“China Inland”). (APP 000814-821.) The

License Agreement purports to grant Chimera an “exclusive license to develop and

commercialize [China Inland’s] cutting edge technologies relating to Non-Hydraulic Extraction.”

(APP 000816-821.)

       75.     During his deposition, Grob asserted the Fifth Amendment privilege against self-

incrimination in regard to questions relating to the negotiation of the License Agreement, the

existence of communications related to such negotiations with China Inland, the existence of

China Inland, the existence of NHE, the existence of any technical documents evidencing that

NHE is a real technology, and the accuracy of the statements in Chimera’s Form 8-K dated July

27, 2012 and exhibits thereto. (APP 000041-42 Grob Dep. Tr. 14:19 – 17:3.) No

communications to or from China Inland and no technical documents evidencing that NHE was a

real technology were produced by any party to this litigation or any person or entity that was

subpoenaed during the Commission’s investigation of this matter. (APP 000002-3 Vydashenko

Decl. ¶ 4.)

       76.     Rios, Chimera’s former consultant and then CEO, and the only person affiliated

with Chimera who had a technical professional and educational background (APP 000072-73



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Rios Dep. Tr. 60:2 – 62:2), never received from anyone at Chimera any technical details relating

to NHE technology, other than a marketing brochure, despite his repeated requests for such

information. (APP 000074 Rios Dep. Tr. 107:3-21.)

       77.    On August 9, 2012, Chimera issued a press release in which it claimed that it

signed a “Memorandum of Understanding” with Petróleos Mexicanos (“Pemex”), the Mexican

state-owned petroleum company that is among the largest enterprises in Latin America. (APP

000105.) This press release was false; Chimera had never entered into a Memorandum of

Understanding with Pemex, and it did not have then, and never had a business relationship with

Pemex of any kind. (APP 000080, 000084 Flores Avila Dep. Tr. 22:6 – 23:25; 97:19 – 98:23;

APP 000093-94 Sanchez Dep. Tr. 93:20 – 95:3; 104:16-24.)

       78.    Dr. Fernando Sebastian Flores Avila, a Pemex employee in charge of

implementation of new drilling technology in Pemex’s Northern Region (one of four regions into

which Pemex is divided), had never seen NHE technology before and, when presented with the

concept by Chimera, viewed it as science fiction. (APP 000079, 000081, 000087 Flores Avila

Dep. Tr. 17:5 – 18:3; 45:6-14; 164:11-18.) Dr. Flores Avila has a Ph.D. in Petroleum

Engineering from Louisiana State University, where he focused his studies on the drilling. (APP

000078 Flores Avila Dep. Tr. 15:7-19.) Dr. Flores Avila teaches engineering classes at the

University of Veracruz, in Poza Rica, Mexico. (APP 000086 Flores Avila Dep. Tr. 109:21 –

110:3.) Dr. Flores Avila has approximately 30 years of experience in the field of petroleum

engineering. (APP 000086 Flores Avila Dep. Tr. 111:8-9.)

       79.    During his deposition, Grob asserted the Fifth Amendment privilege against self-

incrimination in regard to questions relating to dealings with Pemex, the purported Memorandum

of Understanding, and the authenticity of three letters purportedly written by Pemex employees



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that Chimera claimed were evidence of its dealings with Pemex. (APP 000042 Grob Dep. Tr.

17:4 – 21:2.)

       80.       Between July 27, 2012 and October 11, 2012, Chimera made approximately 38

written public statements in the form of approximately 33 press releases and approximately four

filings on Form 8-K. (APP 000100-140) Each of these public statements was false because it

referred to Chimera’s purported licensing of NHE technology, which was fictitious for the

reasons described in paragraphs 75-76 and 78 above, and/or because it referred to Chimera’s

purported business relationship with Pemex, which also was fictitious for the reasons described

in paragraphs 75, 77, and 79 above.

       81.       Grob asserted the Fifth Amendment privilege against self-incrimination in regard

to questions relating to whether the statements in Chimera’s 33 press releases and four

Commission filings on Form 8-K were false. (APP 000044-47 Grob Dep. Tr. 22:1 – 40:10.)

       82.       During the time period that Chimera was publishing the false public statements

described above, Farmer directed his associate, John Brotherton, to conduct a “market

awareness” campaign. (APP 000019 Farmer Dep. Tr. 118:12-18.) The purpose of this

campaign, according to Farmer, was to introduce Chimera to potential investors, with the goal of

creating a liquid market for Chimera shares and increasing the price of Chimera stock. (APP

000019 Farmer Dep. Tr. 118:12-24.)

       83.       As part of this “market awareness” campaign, Brotherton took the following

actions:

             •   On July 18, 2012, engaged Crisp Media, an advertising placement firm, to run a
                 campaign beginning on July 30, 2012 that would display images advertising
                 Chimera on websites of online publishers that focus on finance and business
                 content. (APP 000826.) The images that were displayed on the websites as part


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                 of the campaign touted Chimera’s “NEW SAFE FRACKING!” that “USES
                 ZERO WATER!” and urged viewers to “INVEST TODAY.” (APP 000827.)
                 Farmer, through Chartered, paid at least $80,000 for services provided by Crisp
                 Media relating to Chimera. (APP 000823-826.)

             •   On July 26, 2012, engaged Marchex, another advertising placement firm, to run a
                 campaign beginning on July 31, 2012 that would display text advertising Chimera
                 through the Google mobile advertising network. (APP 000829-831, 000833) The
                 text that was displayed as part of the campaign touted Chimera’s “New Safe
                 Fracking,” and described the technology as a “[n]ewly licensed method” that
                 “uses zero water and is environmentally neutral.” (APP 000829.) Farmer,
                 through Chartered and his personal credit card, paid approximately $104,000 for
                 services provided by Marchex relating to Chimera. (APP 000835; APP 000837;
                 APP 000245.)

             •   On July 24, 2012, contracted with Dow Jones & Company, publisher of The Wall
                 Street Journal, MarketWatch, SmartMoney, and Barrons, for these publications to
                 display images advertising Chimera on their websites, starting on July 30, 2012.
                 (APP 000839-841.) The images that were displayed on the publications’ websites
                 as part of this campaign touted Chimera’s “NEW SAFE FRACKING” method
                 and urged viewers to “INVEST TODAY.” (APP 000843-847.) Farmer, through
                 Chartered, paid Dow Jones & Company $162,615 for Chimera advertisements
                 that it ran through August 15, 2012. (APP 000248.)

       84.       In addition to paying $346,615 directly to advertisers as described above, Farmer

also paid Brotherton for the services Brotherton provided in placing the advertisements.

Between August 2011 and October 2012, Farmer transferred to Brotherton over $1 million.

(APP 000019 Farmer Dep. Tr. 117:25 – 118:1; 118:25 – 119:5) Farmer acknowledged that some

of the money that he transferred to Brotherton constituted payment to Brotherton for “creat[ing]

an aware market for Chimera.” (APP 000019 Farmer Dep. Tr. 118:12-16.)




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         85.   Farmer further acknowledged that to calculate the net proceeds to him of his

subsequent sales of Chimera stock to the public, his payments to Brotherton would have to be

deducted from his stock sales proceeds, as such payments were an “indirect expense” related to

Farmer’s transactions in Chimera stock. (APP 000019 Farmer Dep. Tr. 118:2 -11.)

         86.   In a sworn declaration submitted in the course of the Commission’s investigation,

Brotherton stated that he would assert the Fifth Amendment privilege against self-incrimination

if compelled to testify about Chimera and any dealings with Farmer and Chartered. (APP

000162-165 ¶ 2.)

VII.     Sales of Chimera’s Stock to the Public for Farmer’s Benefit

         87.   After the consolidating transactions described above concentrated ownership of

most of the 20 million shares of Chimera stock issued in the IPO (after the 4:1 stock split in July

2012) in just seven entities, these entities sold millions of shares of stock to the public through

over-the-counter quotation mediums, as described more fully below. Farmer acknowledged that

proceeds from the sale of stock by these entities ended up in his accounts. (APP 000018-19

Farmer Dep. Tr. 116:23 – 117:13.)

         A.    TransAmerica’s Transactions

         88.   Between July 30, 2012 and August 23, 2012, TransAmerica, through a brokerage

account at Scottsdale, sold all 2.8 million shares of Chimera stock it had acquired in the

consolidating transactions for total proceeds of approximately $3,224,630.87. (APP 000849-

850.) The highest price at which TransAmerica sold this stock was $1.84 per share. (Id.)

         89.   Between August 10, 2012 and August 30, 2012, TransAmerica transferred from

its brokerage account at Scottsdale, to its bank account at Wells Fargo Bank, N.A., and then to

Chartered’s bank account at Chase Bank, N.A. $3,050,000, which represented the vast majority



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of the proceeds that TransAmerica obtained from its sale of Chimera stock. (APP 000852-855;

APP 000257-264.)

       90.     Farmer now claims that the transfer of money from TransAmerica to Chartered in

August 2012 was for repayment of obligations that Austin owed Farmer. (APP 000034 Farmer

Dep. Tr. 246:10 – 247:14.)

       B.      Oak Resources’ Transactions

       91.     Between June 20, 2012 and November 15, 2012, Oak Resources, through

brokerage accounts at Pennaluna and Merrimac, sold 2,200,146 shares of Chimera stock it had

acquired in the consolidating transactions for total proceeds of approximately $667,557.19.

(APP 000857-858; APP 000860-866.)

       92.     During the time that Oak Resources was selling Chimera stock from its Pennaluna

brokerage account, it became apparent to Dillon, who was the registered representative servicing

Oak Resources’ account, that Cotton – the ostensible owner of Oak Resources – was not the

person who was directing trading in Oak Resources’ account. (APP 000159-161 Dillon Decl. ¶

10.) Dillon concluded that Farmer was directing the trading in Chimera shares in Oak

Resources’ account. (Id.) As a result, Dillon requested that Cotton provide a written

authorization for Farmer to direct trading, and in connection with this process, Farmer told

Dillon that Cotton was Farmer’s girlfriend. (Id. ¶¶ 10-11.)

       93.     Between August 9, 2012, and November 21, 2012, Oak Resources transferred

approximately $525,000 from its brokerage accounts to its bank account at Chase Bank, N.A.

(Oak Resources brokerage account transfer records [APP 000868-870.) From August 10, 2012

to September 16, 2012, Oak Resources transferred from its bank account at Chase Bank, N.A.,




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for which Farmer had signatory authority, to Chartered’s bank account at Chase Bank, N.A.,

approximately $425,000. (APP 000182-185.)

       94.     Farmer stated that proceeds from Oak Resources’ sales of Chimera stock ended

up in accounts controlled by him because Cotton was repaying obligations she owed to Farmer,

which she would not have been able to repay but for the proceeds from selling Chimera stock.

(APP 000033-34 Farmer Dep. Tr. 244:17 – 246:3.)

       C.      Chartered’s Transactions

       95.     Between June 29, 2012 and September 27, 2012, Chartered, through its brokerage

account at Scottsdale, sold 1,148,322 shares of Chimera stock it had acquired from Daniel

SoRelle and three other IPO investors for total proceeds of approximately $692,554.51. (APP

000849-850.)

       D.      Marshall Islands Entities’ Transactions

       96.     Between August 10, 2012 and September 11, 2012, Kylemore, through its bank

account at Compagnie Bancaire Helvetique (“CBH”), a bank based in Geneva, Switzerland, sold

via United States quotation mediums approximately 740,000 shares of Chimera stock it had

acquired in the consolidating transactions for total proceeds of approximately $790,876.00.

(APP 000872.)

       97.     Between July 31, 2012 and October 24, 2012, Hillsmere SA, through its bank

account at CBH, sold via United States quotation mediums approximately 2,946,500 shares of

Chimera stock for total proceeds of approximately $1,419,035.00. (APP 000874.) Of the total

amount of shares it sold, Hillsmere SA had acquired 2.8 million shares in the consolidating

transactions described in Section V supra, and had purchased the remaining 146,500 shares in

market transactions via United States quotation mediums. (Id.)



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       98.     Farmer has numerous and significant links to Kylemore. As discussed in

paragraphs 10-11 supra, he claimed to have been Kylemore’s “de facto agent in the United

States,” his wife used the email account anna@kylemorecorp.com, he registered and paid for the

registration of the domain name kylemorecorp.com, and between October 2011 and October

2012, at least $4.36 million moved between Chartered’s and Kylemore’s bank accounts.

       99.     Farmer also has other connections to Kylemore. The beneficial owner of

Kylemore is Alina Yurovskaya, a Russian citizen who is a friend of Farmer’s wife and Rohde’s

former girlfriend. (APP 000015, APP 000021 Farmer Dep. Tr. 93:9-22; 138:15 – 139:8.)

Farmer introduced Yurovskaya to David Craven, who during the Relevant Time Period was a

trustee of Kylemore. (APP 000014-15 Farmer Dep. Tr. 92:23 – 93:8.) Craven is affiliated with

EuroHelvetia TrustCo S.A. (“EuroHelvetia”), a private wealth management firm based in

Geneva, Switzerland. (Id., APP 000015 Farmer Dep. Tr. 94:2-4.)

       100.    Yurovskaya became a client of EuroHelvetia on April 8, 2011. (APP 000876-

880.) On that date, she instructed EuroHelvetia to (i) register Kylemore as a corporation in the

Marshall Islands, (ii) set up an entity called The Kylemore Trust in Bermuda, and (iii) open a

bank account in the name of Kylemore at CBH. (APP 000878.) The Kylemore Trust was set up

on May 12, 2011 (APP 000882-887.), at which time it took ownership of Kylemore by being

settled with the only two issued and outstanding shares of Kylemore. (Id.; APP 000889.) On

July 15, 2011, EuroHelvetia caused Kylemore to open an account at CBH. (APP 000891-892.)

CBH’s account opening documents list Farmer as the “settlor” of The Kylemore Trust. (Id.)

       101.    The beneficial owner of Hillsmere SA is Olga Tikhonova, who is Farmer’s sister-

in-law. (APP 000032 Farmer Dep. Tr. 230:16 – 231:10.) Olga Tikhonova became a client of

EuroHelvetia on April 8, 2011. (APP 000894-897.) On that date, she instructed EuroHelvetia to



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(i) register Hillsmere SA as a corporation in the Marshall Islands, (ii) set up an entity called The

Hillsmere Trust in Bermuda, and (iii) open a bank account in the name of Hillsmere SA at CBH.

(APP 000895.) The Hillsmere Trust was set up on May 12, 2011 (APP 000899-903), at which

time it took ownership of Hillsmere by being settled with the only two issued and outstanding

shares of Hillsmere SA. (Id.; APP 000905-906.) On July 15, 2011, EuroHelvetia caused

Hillsmere SA to open an account at CBH. (APP 000908-909.) CBH’s account opening

documents list Farmer as the “settlor” of The Hillsmere Trust. (Id.) EuroHelvetia’s due

diligence questionnaire completed in connection with the opening Olga Tikhonova’s account

states that the “[s]ource of funds to be under administration” at EuroHelvetia is “[f]unds coming

from A. Farmer to start in the form of a loan.” (APP 000911.)

       102.    At the time they opened their accounts at EuroHelvetia, Olga Tikhonova and

Yurovskaya both lived in Yekaterinburg, Russia. (APP 000911; APP 000913.)

       103.    On April 1, 2011, Farmer’s American Express credit card was used to purchase

two tickets for Olga Tikhonova and Yurovskaya on an Aeroflot flight from Yekaterinburg to

Geneva. (APP 000915.) The American Express credit card statement indicates the flight

departure date as April 1, 2011. (Id.)

VIII. Farmer’s Continued Involvement in Chimera’s Business and Regulatory Affairs

       104.    After FINRA’s OTC Compliance Unit cleared Pennaluna to quote Chimera’s

stock, Farmer remained deeply involved with Chimera’s business operations and regulatory

affairs, as described more fully in the examples below.

       105.    On March 13, 2012, Farmer approved Loev’s filing with the Commission of

Chimera’s quarterly financial statements on Form 10-Q. (APP 000917.) Loev believed that




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Farmer had sufficient authority to approve the filing of these quarterly financial statements on

Chimera’s behalf. (APP 000062 Loev Dep. Tr. 90:15 – 92:7.)

       106.    On July 27, 2012, Farmer emailed Loev and Alyssa Vasquez, an employee of

Loev’s law firm, a copy of Chimera’s purported License Agreement with China Inland. (APP

000919-925.) Farmer directed Vasquez to “prep the attached agreement” for filing with the

Commission, and stated that he was “finalizing the 8-k now.” (Id.) Grob, who is a signatory to

the License Agreement, was not included on Farmer’s communications with Loev and Vasquez.

(Id.) The metadata of the file containing the License Agreement reflects that it was last modified

by Farmer. (Id.) As discussed in paragraph 74 above, on July 27, 2012, Chimera filed with the

Commission a Form 8-K announcing its License Agreement with China Inland, with the License

Agreement attached as an exhibit to the Form 8-K.

       107.    On July 30, 2012, Grob sought to engage Hulsey LP, a law firm concentrating in

intellectual property law, to represent Chimera in an application for a patent of NHE technology.

Grob Hulsey LP’s draft engagement letter to Thomas Massey, and informed Massey that the cost

of the engagement would be around $4,000 - $5,000. (APP 000927-929.) Massey is an

associate of Farmer with whom Farmer had a financial and business relationship. (APP 000035

Farmer Dep. Tr. 263:8-17.) On July 31, 2012, Massey forwarded Grob’s email to Eddie Austin,

who responded that Chimera should “move forward” with the engagement of Hulsey LP, and

asked Massey if he had discussed this topic with “Andrew.” (APP 000927-929.) Later on July

31, 2012, Eddie Austin emailed Massey to tell him that Eddie “just talked with Andrew. All is

good, and Charles has the money to pay the retainer. The law firm needs to receive payment and

signed retainer letter by tomorrow so press can go out Thursday [August 2, 2012] . . . .” (Id.)




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       108.    On August 2, 2012, Chimera published a press release titled “CHMR Patenting

Non-Hydraulic Shale Oil Extraction System . . .,” in which Chimera claimed that it had engaged

“the prominent intellectual Property (sic) legal firm of Hulsey LP . . . to protect the Company’s

breakthrough” NHE technology. (APP 000102.)

       109.    In sworn testimony provided during the Commission’s investigation of this

matter, Massey asserted the Fifth Amendment privilege against self-incrimination in regard to

questions relating to Farmer, services Massey performed for Chimera, and Massey’s

compensation in connection with such services, among other topics. (APP 000098 Massey Dep.

Tr. 17:20 – 18:18.)

       110.    On August 10, 2012, Farmer emailed Vasquez and Hannah Loev, wife of David

Loev and owner of a business used by Chimera to format and file documents with the

Commission, a Form 8-K electronically signed by Grob on Chimera’s behalf. (APP 000931-

937.) The Form 8-K disclosed that Chimera had entered into a Memorandum of Understanding

with Pemex, and attached a press release announcing this news. (Id.) As discussed above, this

Form 8-K and the attached press release were false, because, among other reasons, Pemex never

entered into such a Memorandum of Understanding with Chimera. (See paragraph 77 supra.)

Farmer directed Vasquez and Hannah Loev to “file the attached 8-k ASAP.” (APP 000931.)

       111.    On August 14, 2012, Loev emailed Farmer a link to a yet to be published article

in which the author alleged that Chimera was being used in a pump-and-dump scheme. (APP

000938A-939; 000940-953.)

       112.    On August 15, 2012, Farmer caused Infinite to enter into a Master Credit

Agreement with Chimera, whereby Infinite loaned Chimera $25,000 and agreed to extend

Chimera a line of credit in an amount not to exceed $500,000. (APP 000955-966.)



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       113.   On August 20, 2012, Rios emailed Massey a letter purporting to have been sent

by Pemex to Chimera, inviting Chimera to carry out tests of its NHE technology on Pemex’s oil

wells. (APP 000968-969.) The same day, Massey forwarded Rios’s email (together with the

purported Pemex letter) to Farmer. (Id.) The letter is a forgery, as Pemex had never sent such a

letter to Chimera. (APP 000092 Sanchez Dep. Tr. 55:2-16.)

       114.   On August 24, 2012, Loev emailed Farmer and Rohde (but not Grob) a link to a

YouTube video that purported to be a recording of the head of Pemex’s Investment Relations

department confirming that there were no agreements between Chimera and Pemex. (APP

000971-972.) Loev agreed that he emailed the link to Farmer and Rohde only because he

believed that they were in charge of Chimera. (APP 000066-67 Loev Dep. Tr. 118:18 – 121:17.)

       115.   Also On August 24, 2012, Grob forwarded to Farmer a copy of the purported

Memorandum of Understanding between Chimera and Pemex. (APP 000973A-975.)

       116.   On August 28, 2012, Farmer emailed Loev and Vasquez a letter from Grob to

Chimera’s shareholders, which was to be included as an exhibit to Chimera’s Form 8-K and filed

with the Commission. (APP 000977-981.) Farmer drafted the letter. (Id.) The letter contained

a number of false statements, including that Chimera had executed a Memorandum of

Understanding with Pemex, and that Chimera was negotiating the terms of a Master Service

Agreement with Pemex. (Id.) Later on August 28, 2012, Loev emailed Farmer (but not Grob)

requesting his approval to file the Form 8-K and letter exhibit thereto. (APP 000983-988.) Loev

believed that Farmer’s approval was sufficient for Chimera to file a Form 8-K with the

Commission. (APP 000064 Loev Dep. Tr. 106:24 – 107:22.)

       117.   Loev stated that Farmer had a “pretty significant role and potentially should have

been disclosed as a control person” of Chimera. (APP 000065 Loev Dep. Tr. 115:10-16.) Loev



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believed that Farmer was “taking on some roles that are typically suited for an officer or director

of a company,” including authorizing of filings with the Commission and dealing with various

regulatory agencies. (APP 000065 Loev Dep. Tr. 115:17 – 116:9.) The general nature of

Farmer’s interactions with Loev as they related to Chimera also supported Loev’s belief that

Farmer’ was taking on roles typically suited for officers or directors of a company.

       118.    On September 17, 2012, Rios emailed Massey concerning Rios’s attempts to

contact Pemex on Chimera’s behalf, and requested $5,000 to cover expenses associated with this

effort. (APP 000990-991.) The same day, Massey forwarded Rios’s email to Farmer, stating

“[n]eed you to approve 5k for Baldamer (sic), for expenses and other things if we do not see

anything positive news form this 5k I will address it a different way….” (Id.)

       119.    On September 26, 2012, Grob emailed Farmer an expense report detailing all of

Chimera’s expenses from the date of its inception. (APP 000993-999.) Grob stated that he “can

and will provide receipts or bank statements for every line item” on the expense report. (Id.)

       120.    On October 2, 2012, Loev emailed Grob, copying Farmer and Rohde, proposed

terms to settle a lawsuit brought against Chimera and Grob by Air Liquide USA LLC (“Air

Liquide”). (APP 001001-1004.) Air Liquide alleged in its petition that Chimera published a

press release that falsely claimed that Air Liquide has been chosen to be Chimera’s helium

supplier for use in its NHE technology, and demanded that Chimera and Grob be enjoined from

using Air Liquide’s name without its permission. (APP 001006-1021.) Loev requested that

Grob let him know whether the settlement terms proposed by Air Liquide were acceptable.

(APP 001073-1076.)

       121.    On October 3, 2012, Grob responded to Loev that the “terms look fine to me

pending Andrew’s approval.” (APP 001023-1025.) Later that day, Farmer emailed Loev stating



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that Farmer believed the proposed settlement to be “a reasonable arrangement.” (Id.) Loev

understood that Farmer’s approval was required to effectuate the settlement with Air Liquide.

(APP 000068 Loev Dep. Tr. 129:9 – 130:9.) Loev further acknowledged that by this time,

Farmer’s role was not limited to being a consultant to Chimera with regard to its filing of the

Registration Statement. (APP 000068 Loev Dep. Tr. 131:13-17.)

       122.     On October 9, 2012, Farmer emailed Brotherton and Massey a draft of a letter

from Rios to Chimera shareholders. (APP 001027-1029.) Farmer requested that Massey obtain

Rios’s approval to publish the letter, as the “plan” was to “put this out was (sic) part of an 8-k

around 10am our time.” (Id.)

       123.     On October 10, 2012, Chimera filed with the Commission a Form 8-K with

Rios’s shareholder letter attached as an exhibit, in the same form as Farmer emailed it to Massey

on October 9. (APP 001031-1038.) The shareholder letter contained several false statements,

including claims that Chimera had executed a Memorandum of Understanding with Pemex, and

that Chimera had received a formal proposal request from Pemex relating to use of NHE

technology on Pemex wells. (Id.; APP 000082-85 Avila Dep. Tr. 91:8 – 103:8.)

       124.     On October 2, 2012, Melinda Park of FINRA’s Fraud Detection and Market

Intelligence Unit sent Grob a letter requesting from Chimera certain documents and explanations

in connection with FINRA’s inquiry into Chimera’s activities and public statements. (APP

001040-1041.)

       125.     On October 11, 2012 at 11:20 p.m., after Grob resigned as CEO and Rios replaced

him, a person using Rios’s Chimera email address emailed Loev a draft response to FINRA’s

letter. (APP 001043-1047.) Metadata of the attached response letter file indicates that it was

created by Farmer on October 11, 2012 at 3:28 p.m. and last modified by Farmer the same day at



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11:17 p.m. (Id.) In response to FINRA’s request to describe how Grob knew Farmer, and “any

business [Chimera] or the executive officer has done” with Farmer, “either for business or

personal purposes,” the draft response stated that “Mr. Farmer is a long-term friend of our former

CEO, Charles Grob. The Company does not have now, nor has it ever had, a business

relationship with Mr. Farmer. While Mr. Grob and Mr. Farmer are friends, they have never had

a business relationship.” (Id.)

          126.   Loev provided several comments on the draft response to FINRA, after which a

person using Rios’s Chimera email address sent Loev a revised letter on October 15, 2012 at

9:38 p.m. (APP 001049-1062.) The revised letter now contained the following response to the

question about Grob’s and Chimera’s relationship with Farmer:

                 Mr. Farmer is a long-term friend of our former CEO, Charles
                 Grob. During the formation of the Company, Mr. Grob sought
                 advice from Mr. Farmer regarding the process of filing the
                 Company’s Registration Statement with the SEC. At no time was
                 Mr. Farmer an officer, director or affiliate of the Company. Mr.
                 Farmer was never compensated for his advice. The Company does
                 not have now, nor has it ever had, a business relationship with Mr.
                 Farmer. While Mr. Grob and Mr. Farmer are friends, they have
                 never had a business relationship.

(Id.) Metadata of this file indicates that it was created by Farmer on October 15 at 1:01 p.m. and

last modified by him the same day at 1:04 p.m. (APP 001060.)

          127.   On October 15, 2012, Grob emailed Melinda Park of FINRA a response to her

October 2, 2012 letter, which was identical to the revised letter discussed in the paragraph above.

(APP 001064-1072.)

          128.   Farmer acknowledged that the statement in Chimera’s response letter to FINRA

that he and Grob “have never had a business relationship” is not accurate because Farmer paid

Grob for services he claims were unrelated to Chimera. (APP 000022 Farmer Dep. Tr. 175:18 -

176:4.)
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Dated: August 14, 2015                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I hereby certify that on August 14, 2015, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF system, which will send notification of the filing
to all counsel who have registered with the Court. Additionally, I have caused a true copy thereof
to be delivered by the United States Postal Service, Certified Mail, Return Receipt Requested,
addressed to:

Chimera Energy Corp.
c/o Nevada Secretary of State
Meyers Annex Office, Attn: Alfie Frieser
202 N. Carson Street
Carson City, Nevada 89701
Defendant



                                             s/Matthew J. Gulde
                                             Matthew J. Gulde




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